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                         UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF PENNSYLVANIA

AC2T, Inc., d/b/a
Spartan Mosquito,
                                                       Case No. 2:19-cv-5946-RBS
               Plaintiff
       v.

Colin Purrington,

               Defendant
                                CERTIFICATE OF SERVICE

   I, Trevor C. Serine, Esquire, attorney for Colin Purrington, hereby certify that I served a true and
correct copy of the Answer with New Matter and Counterclaim upon the following parties in the
manner indicated on 6/24/2021.

VIA FIRST-CLASS MAIL
AC2T, Inc., d/b/a
Spartan Mosquito
c/o Evan L. Frank, Esquire
Alan L. Frank Law Associates, P.C
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Jenkintown, PA 19046
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VIA ELECTRONIC FILING NOTICE
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                                               By:     _________________________
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